Case 19-30258-KLP               Doc 544      Filed 03/15/19 Entered 03/15/19 15:00:11                         Desc Main
                                            Document     Page 1 of 13




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                      RICHMOND DIVISION

                                                                        )
     In re:                                                             ) Chapter 11
                                                                        )
     GYMBOREE GROUP, INC., et al., 1                                    ) Case No. 19-30258 (KLP)
                                                                        )
                               Debtors.                                 ) Jointly Administered
                                                                        )


                                            AFFIDAVIT OF SERVICE

         I, Paul Pullo, depose and say that I am employed by Prime Clerk LLC (“Prime Clerk”),
 the claims and noticing agent for the Debtors in the above-captioned chapter 11 cases.

         On March 12, 2019, at my direction and under my supervision, employees of Prime Clerk
 caused the following documents to be served by the method set forth on the Core/2002 Service
 List attached hereto as Exhibit A:

             Order (I) Approving the Sale of Certain J&J Assets Free and Clear of Liens, Claims,
              Interests and Encumbrances and (II) Approving the Assumption and Assignment of
              Executory Contracts and Unexpired Leases in Connection Therewith; and (III) Granting
              Related Relief [Docket No. 484]

             Order (I) Approving the Sale of Certain Gymboree and Crazy 8 Assets Free and Clear of
              Liens, Claims, Interests and Encumbrances and (II) Approving the Assumption and
              Assignment of Executory Contracts and Unexpired Leases in Connection Therewith; and
              (III) Granting Related Relief [Docket No. 487]

             Order Authorizing the Debtors to Employ and Retain KPMG LLP as Tax Consultants
              effective nunc pro tunc to the Petition Date [Docket No. 513]

             Order Authorizing Employment and Retention of Prime Clerk LLC as Administrative
              Advisor nunc pro tunc to the Petition Date [Docket No. 514]



 1
       The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
       Gymboree Group, Inc. (6587); Gymboree Intermediate Corporation (1473); Gymboree Holding Corporation
       (0315); Gymboree Wholesale, Inc. (6588); Gym-Mark, Inc. (6459); Gymboree Operations, Inc. (6463);
       Gymboree Distribution, Inc. (8669); Gymboree Manufacturing, Inc. (6464); Gymboree Retail Stores, LLC
       (6461); Gym-Card, LLC (5720); and Gymboree Island, LLC (1215). The Debtors’ service address is
       71 Stevenson Street, Suite 2200, San Francisco, California 94105.
Case 19-30258-KLP   Doc 544    Filed 03/15/19 Entered 03/15/19 15:00:11   Desc Main
                              Document     Page 2 of 13
Case 19-30258-KLP   Doc 544    Filed 03/15/19 Entered 03/15/19 15:00:11   Desc Main
                              Document     Page 3 of 13



                                     Exhibit A
                                                  Case 19-30258-KLP                    Doc 544          Filed 03/15/19 Entered 03/15/19 15:00:11                      Desc Main
                                                                                                       Document     Page 4 of 13
                                                                                                                    Exhibit A
                                                                                                              Core/2002 Service List
                                                                                                             Served as set forth below

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Shoppes LLC, and Gettysburg Outlet Center                                                                      125 East Jefferson Street
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            In re: Gymboree Group, Inc., et al.
            Case No. 19‐30258 (KLP)                                                                                Page 1 of 10
                                                  Case 19-30258-KLP                     Doc 544          Filed 03/15/19 Entered 03/15/19 15:00:11                                            Desc Main
                                                                                                        Document     Page 5 of 13
                                                                                                                           Exhibit A
                                                                                                                     Core/2002 Service List
                                                                                                                    Served as set forth below

                                 DESCRIPTION                                                 NAME                                               ADDRESS                                                  EMAIL            METHOD OF SERVICE
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Cafaro‐Peachcreek Joint Venture Partnership dba Millcreek Mall;
Sandusky Mall Company dba Sandusky Mall; The Cafaro Northwest                                                         Attn: Richard T. Davis
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Center LLC, Valley Square Owner, LLC, TYBAB Partners LLC, The Forbes
Company, Retail Properties of America, Inc., PGIM Real Estate
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Realty, Inc., Centennial Real Estate Company, CenterCal Properties LLC,
ARC SWWMGPA001, LLC, Starwood Retail Partners LLC, The Macerich
Company, and Federal Realty Investment Trust (collectively, the
"Landlords") and Taubman Cherry Creek Shopping Center L.L.C., Dolphin
Mall Associates LLC, Fairfax Company of Virginia L.L.C., The Gardens on
El Paseo LLC, Taubman Auburn Hills Associates Limited Partnership,
Tampa Westshore Associates Limited Partnership, Plaza Internacional
Puerto Rico LLC, Short Hills Associates, L.L.C., Rich‐Taubman Associates,
Sunvalley Shopping Center LLC, TVO Mall Owner LLC, TB Mall at UTC LLC,
and West Farms Mall, LLC, BP Prucenter Acquisition LLC, Legacy Place
LLC, Market Street Retail South LLC, OWRF Carmel LLC, W/S/M Hingham                                                   Attn: Augustus C. Epps, Jr., Esquire, Michael D. Mueller,
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Landlords”), Greater Lakeside LLC, Flow Commerce Inc., GMF, LLC                                                       Esquire                                                        aepps@cblaw.com
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LLC                                                                       Christian & Barton, LLP                     Richmond VA 23219‐3095                                         beastham@cblaw.com                  Email
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            In re: Gymboree Group, Inc., et al.
            Case No. 19‐30258 (KLP)                                                                                       Page 2 of 10
                                                 Case 19-30258-KLP                      Doc 544     Filed 03/15/19 Entered 03/15/19 15:00:11                                Desc Main
                                                                                                   Document     Page 6 of 13
                                                                                                                Exhibit A
                                                                                                          Core/2002 Service List
                                                                                                         Served as set forth below

                                DESCRIPTION                                                 NAME                                       ADDRESS                                            EMAIL            METHOD OF SERVICE
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           In re: Gymboree Group, Inc., et al.
           Case No. 19‐30258 (KLP)                                                                             Page 3 of 10
                                                 Case 19-30258-KLP                      Doc 544           Filed 03/15/19 Entered 03/15/19 15:00:11                      Desc Main
                                                                                                         Document     Page 7 of 13
                                                                                                                           Exhibit A
                                                                                                                     Core/2002 Service List
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                                DESCRIPTION                                                 NAME                                                  ADDRESS                              EMAIL             METHOD OF SERVICE
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The County of Imperial, California                                        Imperial County Treasurer‐Tax Collector     El Centro CA 92243                                                                First Class Mail
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IRS Insolvency Section                                                    Internal Revenue Service                    Philadelphia PA 19101‐7346                                                        First Class Mail
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           In re: Gymboree Group, Inc., et al.
           Case No. 19‐30258 (KLP)                                                                                        Page 4 of 10
                                                  Case 19-30258-KLP                     Doc 544          Filed 03/15/19 Entered 03/15/19 15:00:11                                             Desc Main
                                                                                                        Document     Page 8 of 13
                                                                                                                         Exhibit A
                                                                                                                   Core/2002 Service List
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                                 DESCRIPTION                                                 NAME                                             ADDRESS                                                     EMAIL              METHOD OF SERVICE
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            In re: Gymboree Group, Inc., et al.
            Case No. 19‐30258 (KLP)                                                                                     Page 5 of 10
                                                  Case 19-30258-KLP                       Doc 544           Filed 03/15/19 Entered 03/15/19 15:00:11                                                Desc Main
                                                                                                           Document     Page 9 of 13
                                                                                                                               Exhibit A
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                                 DESCRIPTION                                                   NAME                                                  ADDRESS                                                     EMAIL            METHOD OF SERVICE
Proposed co‐counsel to the Debtors’ proposed postpetition secured
lenders (Goldman Sachs), Co‐Counsel to Goldman Sachs Specialty
Lending Group, Inc. in its Capacity as Prepetition Term Loan Agent and                                                    Attn: Dion W. Hayes, Douglas M. Foley, and Sarah B. Boehm         dhayes@mcguirewoods.com
Special Situations Investing Group, Inc. in its Capacity as Term DIP Agent                                                800 East Canal Street                                             dfoley@mcguirewoods.com
and Term Lender                                                            McGuireWoods LLP                               Richmond VA 23219‐3916                                            sboehm@mcguirewoods.com              Email
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Counsel to Debtors                                                          Milbank LP                                    New York NY 10001                                                 MWeinstein@milbank.com               Email
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Counsel to The Missouri Department of Revenue                               Missouri Department of Revenue                Jefferson City MO 65105‐0475                                      edvaecf@dor.mo.gov                   Email

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Office of the United States Attorney for the Eastern District of Virginia   Eastern District of Virginia                 Richmond VA 23219                                                  shannon.pecoraro@usdoj.gov           Email
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            In re: Gymboree Group, Inc., et al.
            Case No. 19‐30258 (KLP)                                                                                           Page 6 of 10
                                                  Case 19-30258-KLP                      Doc 544 Filed 03/15/19 Entered 03/15/19 15:00:11                                                        Desc Main
                                                                                                Document    Page 10 of 13
                                                                                                                              Exhibit A
                                                                                                                        Core/2002 Service List
                                                                                                                       Served as set forth below

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            In re: Gymboree Group, Inc., et al.
            Case No. 19‐30258 (KLP)                                                                                          Page 7 of 10
                                                 Case 19-30258-KLP                  Doc 544 Filed 03/15/19 Entered 03/15/19 15:00:11                                               Desc Main
                                                                                           Document    Page 11 of 13
                                                                                                                       Exhibit A
                                                                                                                 Core/2002 Service List
                                                                                                                Served as set forth below

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           In re: Gymboree Group, Inc., et al.
           Case No. 19‐30258 (KLP)                                                                                     Page 8 of 10
                                                  Case 19-30258-KLP                       Doc 544 Filed 03/15/19 Entered 03/15/19 15:00:11                                                         Desc Main
                                                                                                 Document    Page 12 of 13
                                                                                                                              Exhibit A
                                                                                                                        Core/2002 Service List
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            In re: Gymboree Group, Inc., et al.
            Case No. 19‐30258 (KLP)                                                                                          Page 9 of 10
                                                  Case 19-30258-KLP         Doc 544 Filed 03/15/19 Entered 03/15/19 15:00:11                                      Desc Main
                                                                                   Document    Page 13 of 13
                                                                                                 Exhibit A
                                                                                           Core/2002 Service List
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            In re: Gymboree Group, Inc., et al.
            Case No. 19‐30258 (KLP)                                                             Page 10 of 10
